               UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                  DOCKET NO. 3:14-CR-229-MOC-DCK

  UNITED STATES OF AMERICA,           )
                                      )
                  Plaintiff,          )
                                      )
  v.                                  )                        ORDER
                                      )
  JAMELL CURETON,                     )
                                      )
                  Defendant.          )
  ____________________________________)


         THIS MATTER IS BEFORE THE COURT on the “Motion To Join In

  Motion And Reply For PreAuthorization Discovery In This Potential Capital Case

  Filed By Co-Defendant Hartley In ECF 269 And 316” (Document No. 395) filed

  January 12, 2016 by Defendant Jamell Cureton. Having carefully considered the

  motion, and for good cause shown, the undersigned will grant the motion.

         IT IS THEREFORE ORDERED that the “Motion To Join In Motion

  And Reply For PreAuthorization Discovery In This Potential Capital Case Filed By

  Co-Defendant Hartley In ECF 269 And 316” (Document No. 395) is GRANTED.



                                           Signed: February 2, 2016




Case 3:14-cr-00229-MOC-DCK         Document 417         Filed 02/03/16   Page 1 of 1
